
In re Carter, Charles; — Plaintiff; applying for supervisory and/or remedial writs, Parish of E. Baton Rouge, 19th Judicial District Court Div. J, Nos. 450,659; to the Court of Appeal, First Circuit, No. 99 CW 0095.
Writ granted. If it has not already done so, the court of appeal is ordered to reach the merits of relator’s filing so as to afford him reasonable access to the courts. La. Const, art. I, Sec. 22; Smith v. Terrell, 97-0640 (La.9/5/97), 699 So.2d 74; State ex rel. Johnson v. Maggio, 440 So.2d 1336, 1337 (La.1983); Smith v. Cajun Insulation, 392 So.2d 398, 402 n. 2 (La.1980).
TRAYLOR, J., not on panel.
